           Case 1:24-mc-00873-DII Document 4 Filed 08/07/24 Page 1 of 5




                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION
CARSON BLOCK



-vs-                                                        Case No.:     1:24-mc-00873

TECHTRONIC INDUSTRIES COMPANY
LIMITED and TECHTRONIC INDUSTRIES
FACTORY OUTLETS, INC.



                         MOTION FOR ADMISSION PRO HAC VICE


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                                John S. Summers
       &RPHV QRZ BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB DSSOLFDQW KHUHLQ DQG

PRYHVWKLV&RXUWWRJUDQWDGPLVVLRQWRWKH8QLWHG6WDWHV'LVWULFW&RXUWIRUWKH:HVWHUQ'LVWULFWRI

                                          Carson Block
7H[DVSURKDFYLFHWRUHSUHVHQWBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBLQWKLVFDVHDQGZRXOG

UHVSHFWIXOO\VKRZWKH&RXUWDVIROORZV

     $SSOLFDQWLVDQDWWRUQH\DQGDPHPEHURIWKHODZILUP RUSUDFWLFHVXQGHUWKHQDPHRI

                        Hangley Aronchick Segal Pudlin & Schiller
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       ZLWKRIILFHVDW

               0DLOLQJDGGUHVV         One Logan Square, 27th Floor
                                        BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

               &LW\6WDWH=LS&RGH          Philadelphia, PA 19103
                                              BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

               7HOHSKRQH               215-496-7007
                                        BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

               )DFVLPLOH                  BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                        215-568-0300

               Email:             jsummers@hangley.com
                                  ________________________________________________
        Case 1:24-mc-00873-DII Document 4 Filed 08/07/24 Page 2 of 5




             October 31, 1984
     6LQFHBBBBBBBBBBBBBBBBBBBBBBB$SSOLFDQWKDVEHHQDQGSUHVHQWO\LVDPHPEHURIDQGLQ

                                                                   Pennsylvania
     JRRG VWDQGLQJ ZLWK WKH %DU RI WKH 6WDWH RI BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

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     $SSOLFDQW¶VEDUOLFHQVHQXPEHULVBBBBBBBBBBBBBBBBBBBBBBB

   $SSOLFDQWKDVEHHQDGPLWWHGWRSUDFWLFHEHIRUHWKHIROORZLQJFRXUWV

     &RXUW                                              $GPLVVLRQGDWH

     SEE ATTACHED SHEET
     BBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                      BBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

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   $SSOLFDQWLVSUHVHQWO\DPHPEHULQJRRGVWDQGLQJRIWKHEDUVRIWKHFRXUWVOLVWHGDERYH

     H[FHSWDVSURYLGHGEHORZ OLVWDQ\FRXUWQDPHGLQWKHSUHFHGLQJSDUDJUDSKEHIRUHZKLFK

     $SSOLFDQWLVQRORQJHUDGPLWWHGWRSUDFWLFH 

     N/A
     BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

     BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

   $SSOLFDQW KDV QHYHU EHHQ VXEMHFW WR JULHYDQFH SURFHHGLQJV RU LQYROXQWDU\ UHPRYDO

     SURFHHGLQJVZKLOHDPHPEHURIWKHEDURIDQ\VWDWHRUIHGHUDOFRXUWH[FHSWDVSURYLGHG

     EHORZ

     N/A
     BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

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   $SSOLFDQWKDVQRWEHHQFKDUJHGDUUHVWHGRUFRQYLFWHGRIDFULPLQDORIIHQVHRURIIHQVHV

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          Case 1:24-mc-00873-DII Document 4 Filed 08/07/24 Page 3 of 5




    $SSOLFDQWKDVUHDGDQGLVIDPLOLDUZLWKWKH/RFDO5XOHVRIWKH:HVWHUQ'LVWULFWRI7H[DVDQG

      ZLOOFRPSO\ZLWKWKHVWDQGDUGVRISUDFWLFHVHWRXWWKHUHLQ

    6HOHFWRQH

      G      $SSOLFDQW KDV RQ ILOH DQ DSSOLFDWLRQ IRU DGPLVVLRQ WR SUDFWLFH EHIRUH WKH 8QLWHG

             6WDWHV'LVWULFW&RXUWIRUWKH:HVWHUQ'LVWULFWRI7H[DV

      G
      ✔      $SSOLFDQWKDVFRFRXQVHOLQWKLVFDVHZKRLVDGPLWWHGWRSUDFWLFHEHIRUHWKH8QLWHG

             6WDWHV'LVWULFW&RXUWIRUWKH:HVWHUQ'LVWULFWRI7H[DV

             &RFRXQVHO              David C. Lawrence
                                      BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

             0DLOLQJDGGUHVV         Rigby Slack, PLLC, 3500 Jefferson Street, Suite 330
                                      BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

             &LW\6WDWH=LS&RGH           Austin, TX 78731
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             7HOHSKRQH               512-782-2060
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    6KRXOGWKH&RXUWJUDQWDSSOLFDQW¶VPRWLRQ$SSOLFDQWVKDOOWHQGHUWKHDPRXQWRI

      SURKDFYLFHIHHLQFRPSOLDQFHZLWK/RFDO&RXUW5XOH$7 I  >FKHFNVPDGHSD\DEOH

      WRClerk, U.S. District Court@

   6KRXOGWKH&RXUWJUDQWDSSOLFDQW VPRWLRQ$SSOLFDQWVKDOOUHJLVWHUDVDILOLQJXVHUZLWKLQ

      GD\VRIWKLVRUGHUSXUVXDQWWR$GPLQLVWUDWLYH3ROLFLHVDQG3URFHGXUHVIRU(OHFWURQLF)LOLQJ

      LQ&LYLODQG&ULPLQDO&DVHVLQWKH:HVWHUQ'LVWULFWRI7H[DV




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           Case 1:24-mc-00873-DII Document 4 Filed 08/07/24 Page 4 of 5




:KHUHIRUH$SSOLFDQWSUD\VWKDWWKLV&RXUWHQWHUDQRUGHUSHUPLWWLQJWKHDGPLVVLRQRI

             John S. Summers
BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBWRWKH:HVWHUQ'LVWULFWRI7H[DVSURKDFYLFH

IRUWKLVFDVHRQO\

                                             5HVSHFWIXOO\VXEPLWWHG


                                                            John S. Summers
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DWWRUQH\RIUHFRUGDQGWKHRULJLQDOXSRQWKH&OHUNRI&RXUWRQWKLVWKHBBBBBBGD\RI
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             August                   2024


                                                             John S. Summers
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                                             >SULQWHGQDPHRI$SSOLFDQW@


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Case 1:24-mc-00873-DII Document 4 Filed 08/07/24 Page 5 of 5




   John S. Summers Motion for Admission Pro Hac Vice

                   ATTACHED SHEET


 Date                 Bar Admission

 10/31/1984           Pennsylvania

 04/15/1985           USDC, Eastern District of PA

 05/16/2014           USDC, Middle District of PA

 11/06/2017           2nd Circuit Court of Appeals

 03/23/1990           3rd Circuit Court of Appeals

 01/13/2012           US Court of Appeals, District of
                      Columbia Circuit
